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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION


   UNITED STATES OF AMERICA, ex rel.
   BARBARA BERNIER; BARBARA
   BERNIER; and ESE LOVE

                 Plaintiffs,
                                                       Case no. 6:16-CV-00970-RBD-TBS
                 v.

   INFILAW CORPORATION; CHARLOTTE
   SCHOOL OF LAW, LLC; AMERICAN BAR
   ASSOCIATION, d/b/a COUNCIL OF THE
   SECTION OF LEGAL EDUCATION AND
   ADMISSIONS TO THE BAR; and
   AMERICAN BAR ASSOCIATION, d/b/a
   ACCREDITATION COMMITTEE OF THE
   SECTION OF LEGAL EDUCATION AND
   ADMISSIONS TO THE BAR

                 Defendants.


      UNOPPOSED MOTION OF BENJAMIN I. FRIEDMAN TO APPEAR PRO HAC
           VICE AND WRITTEN DESIGNATION AND CONSENT TO ACT
                      PURSUANT TO LOCAL RULE 2.02

           Pursuant to Rule 2.02(a) of the Local Rules of the Middle District of Florida,

   Benjamin I. Friedman hereby files this Motion to Appear pro hac vice and Written

   Designation and Consent to Act. Mr. Friedman seeks permission to be specially admitted to

   participate in the above-captioned case on behalf of Defendants American Bar Association

   Council of the Section of Legal Education and Admissions to the Bar (the “Council”), and

   American Bar Association Accreditation Committee of the Section of Legal Education and

   Admissions to the Bar (the “Committee”) (collectively “the ABA”).




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           1.        Benjamin Friedman is an attorney with the law firm Sidley Austin LLP, One

   South Dearborn Street, Chicago, IL, 60603, Telephone (312) 853-7841, Facsimile (312) 853-

   7036, and email benjamin.friedman@sidley.com.

           2.        Benjamin Friedman is a member in good standing and eligible to practice

   before the United States District Court for the Northern District of Illinois, among other

   federal courts.

           3.        Benjamin Friedman is not a resident of, nor is he regularly employed or

   engaged in business, professional, or other activities in the State of Florida. Benjamin

   Friedman has not made frequent or regular appearances in separate cases as to constitute the

   practice of law in the State of Florida. Within the past 365 days, Mr. Friedman has not

   appeared in any case pending in the State of Florida.

           4.        Based on the foregoing, Mr. Friedman has not abused the privilege of

   appearing in Florida courts.

           5.        Benjamin Friedman has received and is familiar with the Local Rules of the

   United States District Court for the Middle District of Florida, including Rule 2.02 governing

   Special Admission to Practice, and Rule 2.04 governing Discipline. Benjamin Friedman has

   also received and is familiar with the Florida Rules of Professional Conduct and other ethical

   limitations or requirements governing the professional behavior of the members of the

   Florida Bar.

           6.        Benjamin Friedman is not currently suspended or disbarred in any court, and

   there are no disciplinary or suspension proceedings pending against Benjamin Friedman in

   any Court of the United States or of any State, Territory, or Possession of the United States.




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           7.     Johanna W. Clark, a member of good standing of the bar of this Court, and a

   resident of Florida has consented to act as local counsel for the ABA.

           8.     All notices and papers may be served on Johanna W. Clark, and

   Johanna W. Clark will be responsible for the progress of this case on behalf of the ABA. In

   the absence of Benjamin Friedman as trial counsel, Johanna W. Clark, as local counsel, will

   try the case for the ABA.

           9.     Benjamin Friedman has completed the form entitled “Special Admission

   Attorney Certification” required by this Court and will mail an Attorney Special Admission

   fee in the amount of $150.00 to the Clerk of the United States District Court for the Middle

   District of Florida as soon as possible.

           10.    Benjamin Friedman has obtained (or pending approval of the pro hac

   application will obtain) a login and password necessary to participate in the Middle District

   of Florida Case Management/Electronic Case Filing (CM/ECF) system.

   DATED: June 12, 2018

                                                Respectfully submitted,

                                                /s/ Benjamin I. Friedman
                                                Benjamin I. Friedman (IL 6317623)
                                                SIDLEY AUSTIN LLP
                                                One South Dearborn
                                                Chicago, Illinois 60603
                                                Telephone No. (312) 853-7000
                                                Facsimile No. (312) 853-7036

                                                Attorney for Defendants American Bar
                                                Association Council of the Section of Legal
                                                Education and Admissions to the Bar and
                                                American Bar Association Accreditation
                                                Committee of the Section of Legal Education
                                                and Admissions to the Bar



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           CONSENT OF DESIGNEE AND CERTIFICATION OF COMPLIANCE

           I HEREBY CONSENT to the designation and understand my obligations pursuant

   to Rule 2.02 of the Local Rules of the United States District Court for the Middle District of

   Florida and HEREBY CERTIFY that the non-resident attorney will mail the Attorney

   Special Admission fee in the amount of $150.00 as soon as possible and complied (or will

   comply) with the e-mail registration requirements necessary to practice law in the United

   States District Court for the Middle District of Florida.

   DATED: June 12, 2018


                                                 Respectfully submitted,

                                                 /s/ Johanna W. Clark
                                                 JOHANNA W. CLARK
                                                        Florida Bar Number 196400
                                                 Carlton Fields Jorden Burt, PA
                                                 CNL Center at City Commons
                                                 450 S. Orange Avenue
                                                 Suite 500
                                                 Orlando, Florida 32801-3370
                                                 Telephone:     407.849.0300
                                                 Facsimile:     407.648.9099
                                                 Email: jclark@carltonfields.com




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                 CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 3.01(g)

           Pursuant to Local Rule 3.01(g) of the Local Rules of the United States District Court

   for the Middle District of Florida counsel for the ABA has conferred with Plaintiffs’ counsel.

   Plaintiffs do not object to the relief requested herein.



                                                          /s/ Johanna W. Clark
                                                          Attorney



                                   CERTIFICATE OF SERVICE

           I CERTIFY that on June 12, 2018, I electronically filed the foregoing with the Clerk

   of the Court by using the CM/ECF system which will send a notice of electronic filing to all

   counsel of record.


                                                          /s/ Johanna W. Clark
                                                          Attorney




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